      Case: 1:20-cv-01543 Document #: 43 Filed: 07/06/20 Page 1 of 3 PageID #:3989




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 CAMELBAK PRODUCTS, LLC,

          Plaintiff,                                             Civil Action No.: 1:20-cv-01543

 v.                                                              Judge John J. Tharp, Jr.

 THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Sheila M. Finnegan
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 174                                       mkstudio
                 175                                      mkstudio-us
                 206                                   zhangbaobao2013
                  45                                      electric337
                 188                                       sisternne
                 144                                       goulisng
                 148                                       gunbooqa
                 116                                        brove96
                 118                                      changfa_74
                 124                                     coucou-perles
                 173                                      missystore
                 105                                      azone-mall
   Case: 1:20-cv-01543 Document #: 43 Filed: 07/06/20 Page 2 of 3 PageID #:3990




DATED: July 5, 2020                  Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01543 Document #: 43 Filed: 07/06/20 Page 3 of 3 PageID #:3991




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 5, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
